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         220        Whitehouse


              cessed· on the mountain. The concentrated u.nexpanded ore, The studies prior to 1998 were performed on a Sensormedics
              which contained over 2-6% tremolite [Amandus et a1., 1987] model 6200 and subsequently on a Medgraphics model 1085.
           . was then loaded in railcars and shipped throughout the nation All studies were done before and after bronchodilator
             to over 200 regional processing or expanding sites. With the utilizing AIbuteroI. The same technician was used through-
             application of heat, the ore expan~ to an accordion like· out the entire period. Lung volumes and DLeo were mea-
             configuration. The expanded vermiculite had up to 1-3% sured after bronchodilator.
             tremoIite [Amandlis et al., 1987]:                                    Normal values of pulmonary function resultsllsed
                 . Both expailded and unexpanded foims of vermiculite spirometry as described by Knudson et a1. [1983], lung
            from the mine were made freely available to the community. volumes established by the Intermountain Thoracic Society
            Many of the homes in the community wen~ insulated with [Kanner et al., i984], and PLCO (non-adjllSted values) by
            vermiculite. Vermiculite was placed on the ball fieldS, school Miller et a1. [1983]. All studies were reviewed to be certain
          .track, and children played in piles ofvermiculite, which were· that height, which was measured to the nearest half inch, and·
            near the mining and processing facilities. The vermioulite age at test date were correct; andif differences in height Were .
            was also ·ilsed as insulation for plywood dryers in the local present they were ·adjusted to match across :study diltes:
           lumber mills aild could be found mthe rail yards ·where ore· American Thoracic Bociety(ATS) pulmonary function·
           cars were loaded for shipping.                                    testing guidelines were used throughout [Ainerican Thoracic
                  Studies of occupational exposure imd disease among Society, 1995]. In total, 30 patients were removed from the
           fonner vermiculite mfueworkers found signmciintly increas- . study for the following reasons: chrOnic obstrUctive pulrilon·
           edratesofasbestosisandlungcaDcer(Amandtisetal., 1987].· ary disease with elevated resid~ volumes (14), previous
                                       area
          A mortality study of the Libby          by the AgencyJor Toxic thoracic surgery (I), unacceptable pulmonary function tests .
        . Substance$ and Disease Registry (ATSDR) found that deaths because .of paiierit unreliability arid inabilitY to meetATS
          due to asbestosis were lUDongthe liighestin the cOlintry at40- aCceptabilitY criteria (9), and/Qr the prese~ce ofa significant
          60 times the expected national rate [DHHS/ATSDR. 2000].           non-asbestos related condition such ·as sarcoidosis or
               . Medical screening in the year. 2000 of approximateiy congestive heart failure (9). Several patients had ~ultiple
      .6,200 residents of the Ubby area who lived there prior to disqualifying diagnoses. The first and last set ofpulmonary
          1990 found over 14%  of      all participants had radioiaphic function teSts were compared for all patients tested (153).
         changes consistent with asbestos related abnormalities.                 Since the patient values were all age corrected against
         These findings represent a significant pUblic hazard in view .the normative predicted·values, changes in the percentage of
     .. of the long term health impact JalO\YIl to be associated With .predicted·over time re1lected chan:gesof p~onary functi~n
         amphibole exposure. Additional medicai screening in 2001 .beyond that accounted for by aging. Differences' between the
         added more patients, now estimated at over 1,000 plus the first and last pulmonary function were tabulated and changes .
        491 patients in this clinical practice who are not pint of per year were calcullited. Changes were recorded in per-
    . the 1,000 and who have 'been followed for up to 14 years. centagechangeperyearbecauseoithewidevariationinages
        These 491 patientS demonstrate isolated pleural plaques to and the usual way ofpresenting.this data in a clinical practice .
      .diffuse pleural or interstitial disease mcluding 40 known setting..                            .             .            .
       deaths from asbestos- related diseases. They were ex:amiD.ed          . Repearedmeasw-es of analysis ofcovariance was used to
       and followed by a tWo physician practice. specializing in statisticaHy test changes iD. pulmonary function, over time
    . pulmonary disease. The patients were--either-referredby with time modeled linearly. To accollDtforindividuahlif~-'--'
       interirlsts and family practitioners or were self referred. ferences in the period between assessm~nts,thetime between
       These patients have not been previously reported. Initially, the first and last assessments was entered into the statistical
     .they were mostlyemploy~es' of W.R.      arace as     well as some analysis as a covariant.
      family members of employees. More recently, non-occupa- .               . The initial postero-anterior chest X-ray was graded for
      tional exposed residents of the community have been extent of pleural changes by the principle investigator and
     jdentified with asbestos-related health abnormalities. Be- also by a board certified radiologist (Dr. TeeD. The extent of
     cause of extensive longitudinal medical data in this clinical pleural changes were graded as follows.· The percentage of
     practice setting,. a study was undertaken to determine if there the lateral chest wall involved with pleural changes wa·s
     was accelerated loss of pulmonary function in this group of measured and the average .of both sides of the chest
     patients.·                                                           calculated. All patients were weighed at ;each visit and body
                                                                          mass index calculated.                         .
    MATERIALS AND METHODS
                                                                      RESULTS
        Puhnonary function studies including spirometry with
    bronchodilator, plethysmographic lung volumes, and single             Of the 491 subjects, 220 were employees of the venni-
j   breath carbon monoxide diffusion (OLCO) were conducted.          culite facilities, 121 were family members, and 150 were
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           environmental expoSlires. Two or more sets of pulmonary 123 (55%) had no evidence on chest X-ray or HRCT of
           functions were available:on 153 pati~nts. These subjects are interstitial changes. The remainingpatients (56) had minimal
           representative of the Libby area population and the practice radiographic evidence of irregular interstitial changes
          group of 491 patients. All had lived in Li1:>by the majority of involving the bases at profusion category 011 or 1/0. Of
          their lifeprior.to 1990.                  .                    . 123 films reviewed, 4 subject films were felt to be noImal. or
               The maJontY of the 123 patients were ex-smokers with equivocal. Ofthese, all subsequently developed overt pleu.i:a1
          8 of 123 (7%) being current smokers. Also, 27 (21 %) never changes within a few years and thiee of four had pleural
          smoked. In total, 86 (70%) were former einployees ofW.R. changes consistent with asbestos exposure on HRCT:, , .
         Grace, 27 (22%) were family members of employees, and                  'The parameters· that were felt to 'be most valuable for
         10 of 123 (8%) were characterized as ·Libby environmental . analysis were fOrced vital capacity (PVC), (taking the: best
         exposUres only. In total, 99 were males (80%), 24 females· avaUable and valid number fromeaeh set), total lung capacity
         (20%).. and the average'age wa~ 66 years at :first pulmonary (TLC), and the single breath diffusion capacity (OLCO). In
      , function study.       . .                                          the 'group of 12,3 patients (jncluding those with iinproved
              Over the course of the study gro~p observation, average PVC), the average yearly loss was 2.2% for PVC, 2.3% for
        BMI increased less than 1 kg/m2 ~d there was rio statistical TLC, and 3.0% for DLCO as calculated over an average of
        correlation between increasing BMI and loss of lung func- 35 months (Fig. 1). Using PVC as the primary mea~e of
        tion. Bronchial as~ waS iuso evaiuated as a confounding worsening lung function, 94 of the 123 (76%) had an
       variable. Many subjects used a variety of bronchodilators , acc'elerated ··loss in this parameter. Atialyzing· the 94 of
       prescribed by their personal physician altpough none carned i23 who had progressive lOS's of PVC, the loss per year. for
     , a diagnoSiS'.ofbronchial astJuna and there was no evidence of PVC was 3.2%, TLC 2.3%, OLCO 3.3% (Fig. 2). In total, '
       significant changes in,FEVI following bronchodilators.             79 of 123 patients with greater than 1% loss of PVCper year
             The majority ha4 pleural ,changes ocl.y, consisting of. the average yearly lqsswas 3.6% for PVC per year, 25% fat
       either pleural plaques or diffuse pleural thickening. Because TLC, and 3.5% for OLCO (Fig. 3). The loss rate in this group
       only about half the patients had high resolution compu,ted .could not be explained by increases in weight, extent of
    , tomography (HRCT) scans, it was not possible to differ- disease initfally or subsequently or 0ther concomitantillness.
      enti/ite this further with any certainty, due to the variations For the 67 patients with pleural ohimges alone and with no
      between the plain PA chest filmand'the HRCT. A total of 67 of interstitial changes, the average yearly loss was 2.2% for


                            100.0% -.-------:..-----""----------~

                             95,.0% -+-------..,..------------~

                             90,0%

                             85.0%                                                                                       - - - - - 1 ... ' .- .. --------'------ ---.,.-




                             80.0%

                            75.0%

                            70.0%
                                                  FVC                                TLC                            OLeo
                     RSEFORE                     90.7%                           '88.8%                             88.0%
                     DAFTER                      84.3%                             82.0%                            79.3%
                     o LOSSIYR                    2.2%                              2.3%                             3.0%

)                                  FIGURE 1. Loss at pulmonaryfunclion; aJI123 patients, average35 months (P < 0,001),
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                    FIGURE Z. Lossofpulmonaryfunclion 941123 patients with worse FVC.




    100.0%

      95.0%

    . 90jj%" +----=!=-~----........-----------J

      85~0%

     80.0%

     75.0%

     70.0%
                                FVC                            TLC                         OLCO
~BEFORE                       89.0%                          87.8%                         86.9%
DAFTER                        76.3%                          78.9%                         74.5%
O%LOSS/YR                     .3;6%                           2.5%                          3.5%
    FIGURE 3. Loss of pulmonaryfunctlon 791123 patients with greaterthan1 %108S rate peryearof FVC.
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                                 100.0% ' r - - - - - - - - " - - - - - - - - - - - - - - - - ,
                                  95.0%
                                  :90.0%
                                  8'5'~0%

                                 ,80.0%
                                 75.0%
                                 70.0%
                                                      , FVC                             TLC                            OLeo,
                          ~BEFORE                                                 '" 92.4%                             92.2%
                         III AFTER                    89.6%                        , 86.8%                             85.2%
                         o LOSSIYR                                                     2.3%
                                             FIGURi' 4. LOSSo/PUlmcinaryfunctiOn67/123patfenls,pIeuraldfseaseonly.·'


)         PVC, 2.3% for TLC, and 2.9% for DLCO (Fig. 4). These well documented. Jones et al. (1989] demonstrated declliies
          results are veiy similar to those of the entire 123 patients in PVC 'a:ild FEV1 in men who had pro'gressive pleural
          (compare Figs. ,1-4) . t h i c k e n i n g . Of this group, 31 % demonstrated Progression of
              All values as' noted abo.ve for decline of pulmonary parenchymal small opacities in patientS with pleural thicken-
         function were statistically significant at PS.OI. There did ' ingandsmokingwasnotasignificantdeterminantofpleural
         not appear to be any difference betWeen the patients with progression. The l!lDPhibole crocidolite                    vias
                                                                                                                            present in one of
         pleural changes who had minor interstitial changes versus no the' two plants 'studied and there was a higher mte of 'pro-
         interstitial changes. It is also noted tfuit in the entire group the gression with ,crocidolite present. Miller and Miller [1983]
        decline ,~ the diffusion capacity was more rapid than the demonstrated that patients with longstanding cliniCally
        decline in either the PVC or  nc.          ''                '         inconsequential plaques remain at risk for diffuse pleural
              Extent ofpleural 'changes as measured as de,scribed on thickening and associated impairment 'of pulmonary func-
        the chest X-ray was evaluated iIi relation to ,the loss of'lung tion, which, waS the cas~ in three patients with pleural,
        function. There waS no statistical correlation between !he effusions. Furthermore,in this group, there was'no evidence
        extent of pleural changes measured on the chest X-my and of progression of smaIl opacities. Decreases in vital capacity
       the loss of pulmonary function. The only clearly diScernible have beendescribed by Lilis et aJ. [1991] and Schwartz et aI.
       event leading to accelerated IOS8 of pulnionary function in [1994]. Ohlson et al. [1985] described 4'year declines in PVC
       this entire group was benign asbsestos related 'effusions and FEVl in a group of asbestos cement workers. The '
     , (three patients). These were treated vigorously with tube avera~e 4-year decrement of PVC in exposed SUbjects was
       drainage and pleurodysis and the rate ofloss equated to the 1.9% greater than the reference (control) subjects. Rom
       76% who 16st function (2.2-3%).                                        [1992] studied 77. asbestos insulators and found that losses of
                                                                              FVC averaged 92 cc per year, FEV 1 66 cc per year, and TLC
      DISCUSSION'                                                             14 cc per year. Kouris et al. [1991J found decreased
                                                                              pulmonary function associated with pleural plaques ilnd
           ,The progressive loss of pulmonary !unction ill 76% of more significantly with diffuse pleural thickening. Schwartz
    , the 123 patients with pleural changes followed in this group et aI., (1990J demonstrated loss of FEV 1 and PVC associated
      of patients with Libby tremolite exposure is excessive with both plaques and' diffuse pleural thickening and they'
      compared to other published reports. Progression of asbestos cOlicluded that "pleural fibrosis" among asbestos exposed
      disease in patients with exposure to chrysotile asbestos is patients is an independent predictor of spirometric patterns
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           224.        Whiteh<:>use

 )            consistent with restrictive lung fmiction. Brodkin et ill. this entire period that they lived in Libby. whether they were
              [1996J further correlates loss of pulmonary function asso- . mine workers,· family members of workers, or community
              ciated with increasing I:esplratory symptoms. Lockey et a!. members living near the vermiculite processing facilities..
              [1984J described changes in weight as a confounding                   This study demonstrates that the number of patients
              varia~le measuring pulmonary function in the workplace. . progressing is muchhigher than has previously been reported
             There was no evidence ofsigniticant weight changes in this in studies with either chiysotile or: amphibole asbestos
             group [McKayetal., 1999J.                               .      . exposure. Lincoln County, Montana, (where Libby is the .
               . . There are fewer artides on exposure to amphiboles. county seat) has the highest mortality rate froni: asbestosis in .
             Shepher~ et al.. [1997J showed progression of pleural and the natlon[DHHS/ATSDR CERCLIS No MTOO090883840,
             parenchymal abnormalities associated with amosite. Sluiz- 2000].
           . Cremer· and Hnizdo. 1989J studied .crocidolite workers in             It is apparent from these data that the majority' of the
             South Africa,·and was ableto demOI1$ate that once a dose of 1.500 persons who have radiologic changes of asbestos.
         . amphibole asbestos sufficient to initiate disease had been exposure are at increased risk for progressive loss of lUng
            retaine4 it was a naturally progressive process. Cookson et al. function from pleural changes alone or from potentiaI future
            [1986J studying. crocidolite workers demonstrated that development of interstitial fibrosis. Assuming                         a
                                                                                                                                       latency
            asbestosi$ was actively progre.ssing even after more than period oibetween 20 and 30 years to significant disease,itis
           three decades. Erlich et aI. [1992J demonstrated jn amosite not unreasonable to expect that the people ofLibby, Montana
           exposed ~orkers that· tberewas pfugfession of pleUral .will have to be mo~toied over the next 30-40 years. because
           abnormalities 20 years after exPosure. They found~xposUre . of the risk for loss of pulmonary function an!! other kriown
           of ~ little as 1month was sufficientto produce radiologic signs diseases historically .associaied with·asbeStos exposure..
           of parenchymal and pleural fibrosis and ·progression was
          detectable greater than 20 y~ after the.end·of exposure, . ACKNOWLEDGMENTS·
          McDonald et al: [1986bJ. stlldying workers exposed to Libby
          tremolite.from     ~e Grace .   mine ill Libby, Montana, has           I th2nkGordon TeelMD, Inland Imaging, Spokane, WA.
          previously demonstrated extensive pleural plaques and pleUral I also thailk: Robert Scott PhD, Spokane Heart Institute,
       . thickening on chest radiographs. Previously, Lockey et al. Statistics.
')     . [1984J, was first to describe an assooiation betWeen benign
         pleural effusions as well as pleural plaques on exposure to REFERENCES
        Libby tremolitethat· had been processed atan expansion plliDt·
        in Ohio to be used·as a conditioner for fertiliZer.
                                                                            Attumclug HE, Wheeler R, Jankovich J, Tucker J. 1987. The morbidity .
                                                                           . . and mortality of vermiculite miners and millers exposed to tremolite-
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                                                                              American Thoracic Society. 1995. St:andardization of spirometry. AM J
             .This. ~tudy demonStrates thaf pleural changes related to Respir Crit Care Med 152;1107.,.1136. .                                 .
         exposure to Libby tremolite are associated with ·progressive Brodkin CA, Bainhart S•. Checkoway H, Balmes J, Omenn OS,
        .lossofpulmonaiyfunction in a gfOUP of patients exposed to Rosenstock L. "1996. Longi~dinlil·pattem of reported respiratory
                                                                         symptom.s an~ acclerated ventilatory loss in asbestos-exposed workers.
         tremolite from approximately 1950 to 1975. Progressive loss Chest     109:120::'126: ..- . . . . . '..- -     ,      ..
         oflung funl:tion is continuing 40 years after lastexposure in
        76% of this group who are representative ofthe population of Co.okson Wi De KIerk N, Musk AW, Ciancy II, Annstrong B, HobbsM.
                                                                         1986, The natural history of asbestosis informer erocidolite workers of
        Libby, .Montana. The studies quoted ilbove document .both :Wittenoon.Gorge. Am Rev Resp Dis 133:994-998.                        ..
        interstitial disease and pleural disease, both radiographicilly
                                                                         DHHS/ATSDR. 2000. Year 2000 medical testing of individuals
        and functionlilly. but none document the rapid progression of potentially exposed to asbestifoniJ minerals~sociated with vermiculite
       loss of pulmonary function in such a large.group of patients in Libby, Montana: A report to the community; August 23 2000.
     . with predominantly pleural disease. McDonald et al. [1999] .(DHHS/ATSDR) LIBBY ASBESTOS SITE; ATSDR CERCUS No.
       speculated on tremolite's increasec;l fibrogenicity, and it . MTOOO9083840 (December, 2000).                              .
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       causing pleural changes that result in aprogressive restrictive factory workers. Br J Ind Med 49:268-275.
       pattern on pulmonary functioll testing. Pleural changes alone Jones        RN:
                                                                                  Diem JE, Hughes lM, Hammad IT, Glindmeyer HW, Weill
       are unlikely to cause a decrease in DLCO, DLCO decreases H. 1989. Progression of asbestos effects: A prospective longitudinal
                                                                        study ofchest radiographs and lung function. Br J Ind Med 46:97-105.
      are likely to be aSsociated with interstitial disease not
      apparent clinically on either plain chest radiograph or HRCT.     Kanner RE, Morris AH, Crapo RH, Gardner RM editors. 1984. Cllilical
                                                                        pulmonary function testing. Amanual ofuniform laboratory procedures
            Exposure histories for this group are complex, because for the intcriDountain. areas, 2nd edn. Salt Lake City, Utah: Inter-
      for the most part there was continuous exposure throughout mountain Thoracic Society.
